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                      EXHIBIT B
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      Exemplary Chart for U.S.Patent No. 11,744,256^ for Defendant No.55 ANCHGPO Seller ID A34G1H6CW0D2KG
 The primary elements ofclaim 1 (copied fully below in the left column ofthe chart) are:
 Fuel Chamber Portion
 Conduit Portion
 Floor
 Channel
 Aperture extends from channel through a wall of Conduit Portion

 There are no limitations in the claims for the size, shape, or orientation ofthe fuel chamber portion, conduit portion, wall in conduit
 portion, or aperture through a wall ofthe conduit portion, except that the conduit portion is disposed below the floor.

 The following diagram is an exemplary mock-up in cross-section ofthe type of defendant's smoker product design, with
 identification of the claim elements. Claims elements are also shown in the chart below using images of Defendant's product.




^ Plaintiff provides this exemplary claim chart for the purposes ofshowing one basis of infringement of one ofthe claims ofthe
11,744,256 patent by Defendant's accused products as defined in the complaint. This exemplary claim chart addresses the Accused
Products broadly based on the fact that the Accused Products infnnge in the same general way. Plaintiff reserves the right to amend
and fully provide its infringement arguments and evidence thereof until its Preliminary and Final Infringement Contentions are later
produced according to the court's scheduling order in this case.
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                                                     Channel



                                                                                              Fuel Chamber
                                                                                                 Portion


                                                                                              Conduit Portion




                                                             Aperture




                                               ■          ciaimi '             '          :
            The Amazon.com sellers page lists a product for sale under ASIN BOBS1VJRWB is a "Cocktail Smoker Kit..
            which is a device for imparting smoked flavors to beverages and foodstuffs.




comorisin
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                                                                 Cocktail Smoker Kit Smoke Top with 8 Wood
                                                                 Chips for Bourbon/Cocktail Smoker lid, Bar Set,
                                                                 Old Fashioned Drink Smoker Kit Ideal Gift for
                                                                                                                                                           □ne-Oay
                                                                 Men, Dad,Husband(Without Torch)
                                                                                                                                                FREE Returns
                                                                 Brand:ANCHGPO
                                                                 AS                                                                             FREE delivery Tomorrow, June
                                                                                                                                                5. Order within 3 hrs 2B mitts

                                                                                                                                                   Oelmc (dKCNML-Ateiandrtj
                                                                                                                                                   litO*
                                                                         One-Oay
                                                                 FREE Returns

                                                                 With Amazon Business, you would have saved $Z61.77in the last year. Create a
                                                                 free accouM and save up to 4%today.                                            Buy 2 or more, save 6%
                                                                                                                                                DboMmt by Amazon Terms
                                                                   Pay^30.89$0.00 for this order. Get a $200 Amazon Gift Card upon approval
                                                                   for the Amazon Business Prime Card. Terms apply. Learn more




                                                                                      stainless_steel
                                  Roll over Image to 200m in




                                                                  About this Item
                                                                  • • COOCTAIL SMOKER KIT WfTHOlfT TORCH —TWsCocktaa Smoker UdwOl
                                                                                                                                                □ Add a gift reteipt for easy




abase        The "Cocktail Smoker" is a "base" unit that has a fuel chamber at the upper end that can hold wood chips:
having a
fuel
chamber
 ortion at
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Its upper
end and
                                                                  fuel chamber portion




a conduit    The Cocktail Smoker has an element protruding at the bottom of the base that is a conduit portion.
portion at
its lower
end.




                                                                              conduit portion




             The fuel chamber for the Cocktail Smoker has a wall. The wall defines a perimeter of the fuel chamber portion. The
             fuel chamber for the Drink Smoker has a floor of the fuel chamber portion that extends from the wall to an opening in
             the floor.
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an upper
wall
portion
defining a
perimeter
edge of the
fuel
chamber
portion and              Opening
a floor
defining a
bottom end,
the floor                          upper wail
extending
from the
upper wall
portion to
an opening
in the floor
wherein the    The fuel chamber of the Cocktail Smoker is oriented to hold wood chips for burning. In the instructions on the
fuel           storefront page, the seller shows the consumer how to place the device on a glass and add wood chips in the fuel
chamber        chamber for burning with a torch.
portion is
oriented to
hold fuel,
and
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                                   i




wherein the The conduit portion of the Cocktail Smoker is oriented below the floor of the fuel chamber,
conduit
portion is                                       fuel chamber
disposed
below the
floor




                                                                               Conduit portion below floor of
                                                                               fuel chamber



and           The channel through the conduit of the Cocktail Smoker is shown on the seller's webstore.
comprises a
channel
through the
conduit
portion
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                                    Channel




The conduit portion ofthe Cocktail Smoker has at least one hole, or aperture, in its wall that leads to the channel:




     Aperture


The instructions demonstrate that when the fuel in the fuel chamber is ignited by a blow torch, the smoke from the
ignited fuel flows down from the fuel chamber,through the channel, and out at least one aperture in the conduit into
the drinking glass.
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aperture
that
extends                                      Place wood chips
from the                                     fuel into chamber
channel
space
through a
wall ofthe
conduit
portion




                          I:                          Ignite the wood
                                                      chips with
                                                      a torch and create
                                                      smoke
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                                             Smoke flows down,
                                             not up,through the
                                             channel in the conduit
                                             and out at least one
                                             aperture in the
                                             conduit
